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                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                      Scott S. Harris
                                                                      Clerk of the Court
                                                                      (202) 479-3011
                                   February 24, 2020


    Clerk
    United States Court of Appeals for the Tenth
    Circuit
    Byron White Courthouse
    1823 Stout Street
    Denver, CO 80257


          Re: Karen Lynn McClaflin
              v. United States
              No. 19-7136
              (Your No. 18-1217)


    Dear Clerk:

           The Court today entered the following order in the above-entitled case:

           The petition for a writ of certiorari is denied.



                                             Sincerely,




                                             Scott S. Harris, Clerk
